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   14                        UNITED STATES DISTRICT COURT

   15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   16
        PFIZER INC.,                             Civil Action No. 3:21-cv-1980-CAB-JLB
                                                                  ___________________
   17
                               Plaintiff, DECLARATION OF KEVIN
   18                                     CLARKE IN SUPPORT OF
              - against -                 PLAINTIFF’S MOTION FOR A
   19                                     TEMPORARY RESTRAINING
      CHUN XIAO LI and DOES 1-5,
   20
                                          ORDER AND PRELIMINARY
                            Defendants. INJUNCTION
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   1    I, Kevin Clarke, pursuant to 28 U.S.C. § 1746, declare as follows:
   2          1.     I am over the age of eighteen and make this Declaration In Support of
   3    Plaintiff’s Motion for a Temporary Restraining Order and Preliminary Injunction
   4    dated November 23, 2021, based on personal knowledge and experience. If called
   5    as a witness, I could and would testify to such facts under oath.
   6          2.     I am currently a Manager of Digital Forensics at Lighthouse Global
   7    (“Lighthouse”), a technical litigation consulting company. I have worked in this
   8    role since 2020 and I began working at Lighthouse as a Senior Consultant in
   9    September 2018. As Manager of Digital Forensics, I serve as a member of the
   10   digital forensic services and evidence collection group for investigation and
   11   litigation matters at Lighthouse.
   12         3.     I have 17 years of experience in an examiner and senior examiner role
   13   within eDiscovery and forensic technology practices since 2004. I have personally
   14   performed or supervised the evidence collection and forensic examination of
   15   hundreds of devices on dozens of engagements for clients undergoing litigation. I
   16   have conducted these forensic examinations in the context of a wide range of legal
   17   matters including trade secret misappropriation, intellectual property theft,
   18   employment disputes, anti-trust, and divorce matters.
   19         4.     I have provided written affidavits in support of my forensic
   20   examinations in federal and state court multiple times. I also have experience with
   21   providing sworn testimony in support of my forensic examinations.
   22         5.     My training in the forensic field includes a Bachelor of Science in
   23   Computer Science from Eastern Michigan University that I received on August 23,
   24   2004. Since 2004, I have also taken numerous continuing education courses in
   25   forensics. I have received the following certifications: Certified Computer
   26   Examiner in good standing with the International Society of Computer Forensic
   27   Examiners; Certified Information Systems Auditor with the Information Systems
   28   Audit and Control Association; licensed Professional Investigator with the State of

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   1    Michigan; Magnet Forensics Certified Examiner; AccessData Certified Examiner;
   2    and EnCase Certified Examiner with Opentext.
   3          6.     As part of my analysis, I use a variety of forensic tools to analyze
   4    records of activity that are stored on the device that I am analyzing. I used three
   5    primary tools when conducting my forensic investigation of Ms. Li’s devices.
   6    First, I used an application called USB Detective. USB Detective is an application
   7    for identifying, investigating, and reporting on USB storage devices that have been
   8    connected to a Windows system. Second, I used an application called AXIOM by
   9    Magnet Forensics, which extracts forensic artifacts from digital evidence,
   10   including internet history, network usage, and deletion activity. Third, I used an
   11   application called Forensic Tookit (FTK), which is a suite of computer forensics
   12   software that provides more of a file-system based view of the data.
   13                                       Investigation
   14         7.     Based on information provided by Pfizer, I understand that from
   15   Saturday, October 23 through Tuesday, October 26, Ms. Chun Xiao Li transferred
   16   over 12,000 files from her Pfizer laptop to an online Google Drive account. I also
   17   understand that Ms. Li admitted to transferring the files from Google Drive onto an
   18   external hard drive using her personal laptop and that she subsequently provided a
   19   laptop and external hard drive to Lighthouse for imaging and analysis.
   20         8.     Lighthouse was retained to conduct an analysis of the personal laptop
   21   and the external hard drive provided by Ms. Li. On November 1, Ryan Maxwell,
   22   Director of Digital Forensics at Lighthouse, imaged this laptop and hard drive. A
   23   forensic image, also known as a forensic copy, is a bit for bit exact copy of a
   24   digital storage device. This forensic image is saved as a series of electronic
   25   evidence files that contain all data from the original device while maintaining the
   26   original file metadata associated with all files on the device. This industry
   27   standard imaging process creates a series of E01 files, also known as Expert
   28   Witness Format files.

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   1          9.     The laptop that Ms. Li provided is a Windows-based laptop bearing
   2    serial number “JS1WR72” and the external hard drive that Ms. Li provided is a
   3    Seagate Expansion drive bearing serial number “NA8DK5ZF.” The images of
   4    these devices were stored on an encrypted storage device, the Apricorn Padlock
   5    3.0. This storage device was then shipped via FedEx to the Lighthouse lab in San
   6    Francisco, CA. Our intake department logged receipt of the storage device and
   7    connected the images to our analysis workstations. My subsequent analysis was
   8    conducted on these images of Ms. Li’s laptop and hard drive.
   9          10.    My analysis of Ms. Li’s external hard drive shows that between
   10   Saturday, October 23, 2021 and Tuesday, October 26, 2021, files likely originating
   11   from approximately 30 zip files were transferred to the drive. Zip files are
   12   compressed files that allow a user to combine several files into a single zipped
   13   folder that occupies less storage space and may be more easily transferred.
   14         11.    My analysis was based on certain “zone identifier” files that are
   15   associated with these zip files. Zone identifier files are automatically generated
   16   when files are downloaded to a computer depending on the settings of the
   17   computer and the type of browser used. These files are used by the Windows
   18   operating system to manage security settings for downloaded files. A zone
   19   identifier is an alternate data stream that is typically hidden from the user. These
   20   zone identifier files likely would have been transferred to Ms. Li’s external hard
   21   drive either after the zip file was extracted on a laptop and then copied to the
   22   external hard drive or when the zip file was directly extracted to the external hard
   23   drive. I was able to find these zone identifiers during my analysis of the hard drive
   24   images.
   25         12.    The zone identifiers that I discovered during my analysis show that
   26   these zip files originally resided at the path C:\Users\cli\Downloads as indicated in
   27   the table below:
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   25   This folder path indicates that the zip files were likely downloaded directly to a
   26   local hard drive “C:” and stored under the “cli” user profile folder. The “Users”
   27   folder is created by the Windows operating system and stores each user’s profile
   28   folder. The subfolder after the “Users” folder indicates the particular user profile,

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   1    in this case “cli”. Here, “cli” is consistent with the first initial and last name of Ms.
   2    Chun Xiao Li. The “Downloads” subfolder is typically the default folder that
   3    documents are saved to when downloaded from the internet.
   4          13.    Some of these zip files had names that I understand are associated
   5    with Pfizer, such as “GDP Statistics,” “Lorlatinib,” and “ADVL 0912.” These
   6    folder names matched those provided by Pfizer as part of the list of Google Drive
   7    uploads. Other zip files had the generic name “drive-download.” However, I was
   8    unable to determine the number of documents saved in any of these zip files
   9    because I was unable to recover them on the external hard drive.
   10         14.    Based on my analysis of these zone identifiers, I believe that these zip
   11   files were originally downloaded to a computer other than the laptop that Ms. Li
   12   provided to Lighthouse for imaging. I was unable to find any of the zip files that
   13   were associated with the folder C:\Users\cli\Downloads on the external hard drive.
   14   I was also unable to find these zip files on the personal computer.
   15         15.    I found no evidence indicating that these zip files had been saved to
   16   the personal computer provided by Ms. Li. In fact, there were several indications
   17   to the contrary. First, the only non-default user profile that appears active on this
   18   computer is “jdk,” which is also listed as the laptop owner in the operating system
   19   information. For example, there is a Downloads folder located at the path
   20   C:\Users\jdk\Downloads, but I did not find any Pfizer documents in that folder.
   21   Second, the laptop was essentially dormant between October 20, 2021 and October
   22   28, 2021; there was no browser usage, no access to Google Drive, nor network
   23   connections made during this time. Based on the time stamp in the filenames
   24   associated with the zip files, the downloads would have occurred during the time
   25   period that the laptop was dormant, from October 23, 2021 through October 26,
   26   2021. Third, according to the Windows operating system event logs and the
   27   Windows system registry, the first time that the external hard drive was connected
   28   to the laptop was October 29, 2021. I also found that the “jdk” user account was

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   1    logged on mere seconds after the external hard drive was first connected on
   2    October 29, 2021.
   3          16.    Additionally, examination of the log file shows that on or after
   4    Saturday, October 30, 2021, hundreds of items from the external hard drive were
   5    deleted. Many of these items have a last accessed date of October 30, 2021
   6    between 9-10 pm PST, suggesting that this was the last time these files were
   7    “accessed” by a computer. The log entries are spaced a few seconds apart as these
   8    files were deleted, which is consistent with mass deletion rather than a targeted
   9    deletion. These items included hundreds of folders and subfolders, which I
   10   determined by looking at the log entries and because there were no file extensions
   11   associated with the entries. Deleting a folder would delete all of the items saved
   12   within that folder, and the names of some of these folders suggested that they
   13   contained Pfizer documents. For example, three of the deleted folders were named
   14   “Inotuzumab,” “Avelumab,” and “ADVL 0912.” The log information also shows
   15   that these folders were created just days earlier, on October 24-25, 2021.
   16         17.    I also did not find any evidence of a user profile on the laptop having
   17   the username “cli,” nor is there evidence that a user profile bearing that name ever
   18   existed or was deleted from the laptop. My analysis of Ms. Li’s laptop showed no
   19   evidence of anti-forensic activity. I did not find any file-shredding/wiping
   20   programs, time-stomping/manipulation programs, or any other activity associated
   21   with deleting or modifying the laptop’s system information. The laptop provided
   22   by Ms. Li appears to be a typical Windows laptop and I would expect that the data
   23   that I analyzed above to be accurate. I also confirmed with Pfizer that “cli” is not a
   24   user profile on Ms. Li’s Pfizer-issued laptop.
   25         18.    Based on my analysis described above and my 17 years of experience,
   26   it is my opinion that another computing device, with the user profile “cli,” exists
   27   and that this device has not been provided for my analysis. This other device could
   28   contain the files identified by the zone identifiers that pointed to the folder

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